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                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

      In re:                              § Chapter 7
                                          §
      Darren Scott Matloff,               § Case No. 19-44253-mxm-7
                                          §
               Debtor.                    §
                                          §
      Triumphant Gold Limited,            § Adv. No. 19-04127-mxm
            Plaintiff,                    §
                                          §
      vs.                                 §
                                          §
      Darren Scott Matloff,               §
            Defendant.                    §

                 MOTION TO COMPEL DISCOVERY RESPONSES
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             Pursuant to Rule 37 of the Federal Rules of Civil Procedure, made
      applicable herein by Federal Rule of Bankruptcy Procedure 7037, Darren
      Scott Matloff (“Matloff”) hereby moves the Court for an order compelling
      Triumphant Gold Limited (“TGL”) to respond to and comply with certain
      written discovery requests in this adversary proceeding. In support hereof,
      Matloff respectfully states as follows:

                                     I.
                           PRELIMINARY STATEMENT

             1.    The relationship between TGL and Matloff formally began in
      the summer of 2016, when Matloff guaranteed $10 million in loans TGL
      made to Rooftop Group International Pte. Ltd. (“Rooftop Singapore”). In
      July 2027, TGL loaned another $10 million, followed by another $1.25
      million in August 2017. Originally advanced at an interest rate of 15% per
      annum, the annual interest charges on these loans climbed quickly to 48%
      and later 60% following the occurrence of various defaults.

             2.     Nevertheless, from September 2016 to March 2018 TGL was
      repaid $17,346,104—over 80% of it is original principal balance. During
      that same period, TGL was paid $5,013,483 in regular and default interest,
      for a total of $22,359,588—over a million dollars more than what TGL
      originally loaned.

             3.      Despite having recovered the bulk of its principal (and more
      than its original investment, measured in nominal dollars), TGL has
      nevertheless led the charge against Matloff and the Rooftop Entities defined
      below), including going so far as to agree to fund the efforts of the chapter 7
      trustee’s activities (through counsel shared by TGL and the trustee). Now
      TGL seeks to except its remaining debt from Matloff’s discharge and,
      alternatively, to deny Matloff’s discharge entirely. In doing so, TGL stands
      alone among the creditors of Rooftop—some of which are owed far more
      than TGL and most of which recovered none of their claims prior to the
      bankruptcy filings.

            4.    TGL has taken extensive discovery in the last several months
      and examined Matloff under oath on multiple occasions. Despite months of
      discovery, multiple conferences, and two rounds of amended discovery

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      responses, however, TGL still finds itself unable to give a direct answer to a
      direct question. With Matloff’s own future hanging in the balance as TGL
      seeks to have tens of millions of dollars in business debts declared
      nondischargeable, Matloff is in need of the Court’s assistance to compel TGL
      to supplement its responses or, by overruling TGL’s discovery objections, to
      bind TGL to the answers given.

                                       II.
                                   BACKGROUND

      A.     The Adversary Proceeding

              5.     This motion arises in the above-styled adversary action TGL
      instituted against Matloff (the “Adversary Action”), through which TGL
      seeks to deny Matloff’s discharge or, at minimum, to except TGL’s debt
      from that discharge. On December 6, 2019, TGL filed an Adversary
      Complaint that was allegedly based primarily upon Matloff’s actions in the
      bankruptcy cases of Rooftop Singapore, Rooftop Group USA, Inc. (“Rooftop
      USA”), and Rooftop Group Services (US), Inc. (“Rooftop Services” and,
      collectively, the “Rooftop Entities”).

              6.     TGL’s Complaint casts a wide net—invoking arguments for
      the denial of Matloff’s discharge based on multiple subsections of § 523 and
      § 727. By its Complaint, TGL would have Matloff remain personally liable
      for tens of millions of dollars in business debts that he cannot possibly hope
      to repay in his lifetime. The Complaint thus strikes at the heart of Matloff’s
      good faith effort to submit himself to the bankruptcy process and obtain the
      discharge necessary to allow him to start his life over again following the
      collapse of the successful retail business to which he devoted more than
      fifteen years of his life.

             7.      Rather than basing its claims on specific events, acts, or
      financial statement, TGL mixes and mingles claims of false representations
      with allegations of contract breaches and allegedly fraudulent transactions
      that Matloff has previously explained in sworn testimony. The alleged
      claims asserted by TGL largely just recite statutory language from sections
      523 and 727 of the Bankruptcy Code.



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             8.      In addition, much of the critical thesis of TGL’s argument
      ignores the undeniable fact that, from 2016 to 2018, Matloff and Rooftop
      Singapore relied on a chief financial officer (Thian Chew) who was also a
      principal member of one of their largest creditors. Email correspondence
      shows that Mr. Chew and TGL did not maintain an arms’ length distance
      during his tenure, but in fact corresponded in ways that strongly suggest that
      Mr. Chew was serving creditor interests at the same time he was serving as
      an officer of Rooftop Singapore.

      B.     Matloff’s Discovery Requests

             9.     The relief sought in the Complaint can be broadly divided in
      three categories: (1) exceptions to discharge under § 523(a), (2) denial of
      discharge under § 727(a) based on acts by Matloff in his case or one of the
      Rooftop Entities’ cases, and (3) denial of one of Matloff’s claimed
      exemptions under § 522(l).

             10.    TGL’s objections to discharge under § 523(a) are combined
      into Count 1 of the Complaint, in which TGL seeks an exception to discharge
      of debts for—

                    (a)    money obtained by false pretense, false representation,
                           or fraud under § 523(a)(2)(A);

                    (b)    money obtained by false financial statement under
                           § 523(a)(2)(B);

                    (c)    fraud, embezzlement, or larceny under § 523(a)(4); and

                    (d)    willful or malicious injury under § 523(a)(6).

      Notably, none of the claims indicate the amount of the debt that TGL seeks
      to except from discharge under each of these statutory provisions.

              11.    Turning to Count 2, TGL seeks to deny Matloff’s discharge in
      its entirety under each of § 727(a)(2) (transfer, destruction, or concealment
      of property) and § 727(a)(3) (concealment, destruction, or failure to preserve
      records). In Counts 3, 4, and 5, TGL invokes § 727(a)(7) to deny Matloff’s
      discharge based upon allegations of missing property, insufficient records



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      and false oaths under §§ 727(a)(2), (3), and (4) in the cases of Rooftop
      Singapore, Rooftop Services, and Rooftop USA.

              12.    The Counts themselves do not set out the factual allegations
      specific to each individual claim (e.g., which allegations describe an alleged
      false representation versus an act of embezzlement), but instead contain just
      a restatement of the act described in the corresponding statutory provision.

             13.    Given that the denial of even a portion of the discharge would
      leave Matloff exposed to ongoing liability for millions of dollars in business
      debts incurred by the Rooftop Entities, the Requests are predominantly
      focused on identifying the factual bases for TGL’s claims under §§ 523 and
      727. Accordingly, on February 24, 2020, Matloff served his First Set of
      Interrogatories and Requests for Production of Documents (the “Requests”)
      to TGL to obtain the needed clarification. See Exhibit A. The Requests
      contained 19 interrogatories (referred to herein as “ROG 1,” ROG 2,” etc.)
      and 17 requests for production of documents (referred to herein as “RFP 1,”
      “RFP 2,” etc.). These Requests were narrowly tailored to explore specific
      allegations and claims asserted by TGL in the Complaint.

      C.     TGL’s Original Responses

             14.    After requesting a few brief extensions of time to respond, on
      April 10, 2020, TGL provided its answers and objections (the “Original
      Responses”) to the Requests. See Exhibit B. Running to more than 30 pages
      in length, the Original Responses assert a series of “general objections”
      ostensibly applicable to all of the Requests. In addition, TGL’s response to
      each Request is preceded by a lengthy series of repeating objections to the
      particular Request, including objections that the Requests were overly broad
      and unduly burdensome, that they improperly required TGL to “marshal” its
      evidence, and that responsive information was equally available to Matloff
      as to TGL. In addition, TGL’s responses to interrogatories were unverified
      by counsel or TGL.

             15.    Notwithstanding its voluminous objections, TGL nevertheless
      provided answers to the substantial majority of the Requests. Several of
      these answers, however, only offered up “laundry list” of alleged bad acts
      that did not necessarily bear relation to the Request to which it responded.

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      For example, in response to ROG 1, which sought identification of each
      “false pretense, false representation, and act of fraud” for purposes of
      § 523(a)(2)(A), the Response—

                    (a)    identifies alleged representations without specifying
                           who made the representation (e.g., “Representations
                           through Agency Agreements and otherwise that
                           Rooftop USA acted as agent for Rooftop Services
                           and/or Rooftop Singapore…”);

                    (b)    presents sentence fragments without context (e.g., “pass
                           through of all assets to Rooftop Singapore”);

                    (c)    presents allegations of TGL’s own beliefs (e.g., “Credit
                           extended by TGL was to be used to support the proven,
                           existing product lines…”).

                    (d)    makes generalized references to “multiple covenants;
                           indemnities; guarantees; pledges.”

              16.    Further confusing the substance of these “laundry list”
      Responses, TGL then incorporated them by reference in subsequent
      Interrogatories, such as in its Responses to ROG 5 (acts of embezzlement)
      and ROG 6 (acts of larceny). The net effect of these Responses is a confusing
      morass of allegations that, instead of clearly identifying those bad acts that
      TGL believes to constitute a false pretense, or fraud, or embezzlement, or
      larceny, TGL has left Matloff with the proverbial “data dump” from which
      Matloff and the Court must divine TGL’s intentions. As a result, Matloff is
      left to speculate whether each act identified in the answers to ROGs 1-4 as
      an alleged false representation or fraudulent act might also be an alleged act
      of embezzlement or larceny.

             17.   Heeding the admonition of this and other courts that parties
      should always endeavor first to resolve discovery disputes informally
      through the meet-and-confer process, on April 15, 2020, Matloff sent a letter
      (the “April 15 Letter”) to TGL identifying several deficiencies in TGL’s
      Original Responses and asking TGL withdraw its improper objections and
      produce all responsive documents by Wednesday, April 22, 2020. See
      Exhibit C. After TGL initially proposed to confer in early May, the parties
      agreed to confer on April 27, 2020.

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      D.    TGL’s First Amended Responses

           18.     One day before the meet-and-confer call, TGL delivered
      amended, but still unverified, responses and objections (the “First Amended
      Responses”) to the Requests. See Exhibit D.

             19.    Although the First Amended Responses did not generally alter
      the substantive portions of TGL’s responses to the Requests, they included
      several changes to the blanket objections that began each substantive
      response. In particular,

                   (a)    TGL withdrew its “marshaling” objection, replacing it
                          with a largely similar claim that it should not be required
                          to respond to a “contention interrogatory.”

                   (b)    TGL objected to several Requests as “disproportional to
                          the needs of the case.”

                   (c)    TGL objected to several Requests as “seeking counsel’s
                          legal opinion of the application of the Bankruptcy Code
                          to the facts.”

                   (d)    In response to several of the RFPs, disclosed that “it has
                          not conducted a search specific to these requests.”

                   (e)    The “laundry list” Responses (and the incorporation of
                          those lists in response to other Interrogatories) were
                          largely preserved.

             20.     Nevertheless, on April 27 the parties proceeded with their
      discovery conference, the result of which was a timeline and list of action
      items for each side. See Exhibit E. Among other “action items” discussed
      on that call, Matloff asked TGL to—

                   (a)    obtain verified signature for interrogatories;

                   (b)    confirm production of a spreadsheet identifying the
                          transactions referred to in ROG 13 and ROG 16;

                   (c)    determine whether a “cut off” date can be identified as
                          the last date on which TGL claims to have extended,
                          renewed, or refinanced credit for purposes of
                          § 523(a)(2);

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                    (d)    identify each “statement in writing” that TGL alleges as
                           the basis of a claim under § 523(a)(2)(B).

                    (e)    confirm no nonprivileged documents have been
                           withheld from production on the basis of any asserted
                           objections;

                    (f)    identify any alleged acts of embezzlement (ROG 5) and
                           larceny (ROG 6) separately from alleged acts of false
                           pretense, false representation, and fraud (ROG 1-4); and

                    (g)    produce documents responsive to RFP 2-5 (due
                           diligence documents) upon execution of a mutual
                           confidentiality agreement or otherwise.

             21.   To resolve one of TGL’s objections to RFP 10
      (communications between TGL and Polar), Matloff also narrowed the scope
      of the Request to seek only communications with Thian Chew.

             22.     Matloff’s counsel addressed its issues with TGL’s objections
      in detail at that conference, specifically raising the Heller decision and its
      requirements for how discovery is to be properly conducted. See Heller v.
      City of Dallas, 303 F.R.D. 466 (N.D. Tex. 2014). For example, Matloff’s
      counsel explained that TGL had not made clear whether or not TGL was
      withholding anything based upon its objections (as required by Fed. R. Civ.
      P. 34(b)(2)(C)), and that “vague and ambiguous” objections alone were not
      sufficient without further explanation. Matloff’s counsel also clarified
      explicitly that a reference to § 523(a)(4) in RFP 16 (requesting all
      “statements in writing”) was a typographical error, and that Request should
      be understood to refer instead to § 523(a)(2).

            23.    On May 7, 2020, the parties conferred again, this time for over
      an hour and a half, following which TGL committed to provide a second set
      of amended responses and objections to the Requests.

      E.     The Second Amended Responses

           24.    On May 22, 2020, TGL delivered to Matloff its second
      amended responses and objections (the “Second Amended Responses”) to



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      the Requests together with a supplemental production of documents. See
      Exhibit F.

             25.    Despite having participated in nearly three hours of discovery
      conferences spanning two separate meet-and-confer calls, TGL substantially
      reaffirmed its litany of blanket and specific objections and again failed to
      indicate whether information or documents are being withheld on that basis.
      A comparison of TGL’s Amended Responses to its Second Amended
      Responses reveals that—

                   (a)    TGL affirmed nearly all of its prior objections to each
                          Request.

                   (b)    TGL affirmed its decision to describe allegedly false
                          representations and other alleged “bad acts” in largely
                          generalized terms lacking any specificity as to precisely
                          what was said by whom, where precisely the statement
                          could be found, and why TGL believed it to be false.

                   (c)    TGL affirmed its decision not to even run searches
                          specific to certain of the Requests.

                   (d)    TGL affirmed its decision to answer interrogatories
                          pertaining to allegations of embezzlement and larceny
                          solely by reference to its answers to interrogatories
                          pertaining to allegations of fraud and false statements.

                   (e)    Ignoring Matloff’s explicit clarification of an otherwise
                          obvious typographical error, TGL affirmed its prior
                          response to RFP 16, claiming to be “unable to respond
                          to this request after a good-faith inquiry because
                          § 523(a)(4) does not use the phrase ‘statements in
                          writing.’”

              26.   What remains is a laundry list of allegations with no apparent
      effort made to link answers to interrogatories and, by extension, to specific
      causes of action asserted against Matloff. The extensive reservations of
      rights invoked by TGL make it impossible to determine with any certainty
      precisely what allegations the Complaint was based upon or whether TGL
      has disclosed all known allegations.



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             27.    TGL has failed to properly answer the requests for production
      and interrogatories and continues to assert improper objections specifically
      denounced in Heller. Accordingly, Matloff requests that this Court enter an
      Order overruling TGL’s objections to Requests and compelling TGL to
      provide complete answers to the questions posed.

      F.    Other discovery in this adversary proceeding.

             28.    Matloff’s own responses to the discovery propounded on him
      in this adversary proceeding stand in stark contrast to TGL’s evasive,
      incomplete responses. On February 4, 2020, TGL propounded its first set of
      interrogatories and requests for production of documents to Matloff. Finding
      TGL’s RFP 2 to be potentially overbroad in seeking all documents
      evidencing Matloff’s “instructions to any bookkeeper or accountant,”
      Matloff contacted TGL through counsel on February 24 and 25 to confer on
      the request and determine what was meant by the term “instructions” and
      whether TGL could be more specific in its request. While TGL expressed a
      willingness to consider discrete search terms, it was unwilling or unable to
      state more precisely what it sought in this request.

              29.   On March 5, 2020, Matloff provided responses and responsive
      documents to TGL’s first discovery requests. See Exhibit G. Consistent with
      Heller and other applicable precedent, Matloff did not hide behind a wall of
      objections, but answered each question to the best of his ability based upon
      reasonable investigation and reasonably available information. Matloff
      objected to one interrogatory, ROG 4, and later withdrew that objection and
      provided a response on May 22, 2020 following the parties’ meet-and-confer
      conferences. Matloff objected to two other interrogatories, ROG 6 and ROG
      7, on the ground that he could not possibly explain whether it was reasonable
      for TGL not to have relied on “any statement” in a given document without
      knowing both the specific statement alleged to have been false and the
      manner of TGL’s reliance (if any) on that statement. Matloff also produced
      responsive, nonprivileged documents without objection to two of three RFPs,
      objecting to RFP 2 (which TGL later withdrew) for the reasons stated above.

             30.    Matloff received no complaint or objection to his responses
      until more than seven weeks later when, the day before the parties’ April 27


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      meet-and-confer, TGL for the first time raised objections to Matloff’s
      discovery responses.1 By agreement, Matloff provided supplemental
      responses and produced some additional documents on May 22, 2020. These
      responses included additional information based upon a receivables analysis
      newly-created to answer TGL’s questions, as well as a response to an
      interrogatory to which Matloff had previously objected. See Exhibit H.

             31.    On June 9, 2020, TGL served Matloff with another round of
      discovery requests comprising at least 14 additional interrogatories, 23
      additional document requests, and 73 requests for admission. Those requests
      remain outstanding.

                                           III.
                                   RELIEF REQUESTED

            32.     Matloff seeks an order under Rule 7037(a)(1) and (3) of the
      Federal Rules of Bankruptcy Procedure overruling TGL’s objections to the
      aforementioned Requests and compelling TGL to provide the documents and
      information requested by Matloff in his Requests.

             33.     As a practical matter, Matloff’s counsel is of the belief that the
      deficiencies found in TGL’s discovery responses are a function of the lack
      of basis for many of the claims asserted (e.g., embezzlement). If that is the
      case, then certain responses may be sufficient, albeit needing to be broken
      out to align TGL’s answers with Matloff’s questions. However, Matloff
      requires a ruling on TGL’s objections so that he may invoke the protections
      of the exclusionary rule if additional documents are subsequently produced.
      See FED. R. CIV. P. 37(c)(1).

                                            IV.
                                         ARGUMENT

             34.    “Discovery by interrogatory requires candor in responding....
      The candor required is a candid statement of the information sought or of the
      fact that objection is made to furnishing the information. A partial answer
      by a party reserving an undisclosed objection to answering fully is not


             1
                Notably, in that April 26 letter TGL withdrew RFP 2, which had been the
      subject of Matloff’s earlier meet-and-confer emails and subsequent objection.

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      candid. It is evasive.” Dollar v. Long Mfg., N.C., Inc., 561 F.2d 613 , 616-
      17 (5th Cir. 1977).

              35.    The Federal Rules of Civil Procedure dictate that “[i]f a party
      fails to provide information or identify a witness as required by Rule 26(a)
      or (e), the party is not allowed to use that information or witness to supply
      evidence on a motion, at a hearing, or at a trial, unless failure was
      substantially justified or harmless.” FED. R. CIV. P. 37(c)(1). Rule 37(c) is “a
      self-executing” and “automatic sanction” that “provides a strong inducement
      for disclosure of material that the disclosing party would expect to use as
      evidence … at trial, at a hearing, or on a motion, such as one under Rule 56.”
      FED. R. CIV. P. 37(c) advisory committee’s note (1993). TGL has not stated
      in its Original Responses, Amended Responses, or Second Amended
      Responses whether it is withholding documents, and thus Matloff is unable
      to know whether or not such documents exist at all. See FED. R. CIV. P.
      34(b)(2)(C) (“An objection must state whether any responsive materials are
      being withheld on the basis of that objection. An objection to part of a
      request must specify the part and permit inspection of the rest.”).
      Accordingly, Matloff requests that this Court overrule TGL’s objections to
      Matloff’s Requests.

             36.    The scope of permissible discovery under Rule 26 is broad by
      design, and may extend to “any nonprivileged matter that is relevant to any
      party’s claim or defense.” Fed. R. Bankr. P. 26(b)(1). TGL’s objections are
      not only without merit, but fly in the face of the Heller decision and other
      applicable case law that provided detailed guidelines for how to properly
      respond to discovery requests.

      A.     TGL’s “vague and ambiguous” objections are unfounded.

             37.     First, in its Second Amended Responses, TGL continues to
      object to ROGs 2, 8, 9, 11, 14, and 18 as “vague and ambiguous” without
      explaining TGL’s understanding of the allegedly “vague and ambiguous”
      request. “[I]f part or all of an interrogatory is allegedly vague and ambiguous,
      the responding party, to comply with the Federal Rules, must, if possible,
      explain its understanding of the allegedly vague and ambiguous terms or
      phrases and explicitly state that its answer is based on that understanding.”


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      Heller v. City of Dallas, 303 F.R.D. 466, 492 (N.D. Tex. 2014). Despite hours
      of calls and a detailed letter explaining this, TGL has not withdrawn the
      objection nor amended its responses based on the clarifications given by
      Matloff. See Exhibit F. TGL’s failure to correct its clearly deficient responses
      after repeated conferences shows that TGL’s refusal to comply with its
      discovery obligations is intentional.

             38.    Similarly, TGL continues to answer ROGs 2, 8, 9, 11, 14, and
      18 with a “subject to” list of boilerplate objections, including the “vague and
      ambiguous” objection. This is likewise impermissible under Heller, as
      “making an objection to a request as vague and ambiguous, without more,
      and then fully answering the interrogatory or promising production of all
      documents responsive to the request ‘subject to’ the vagueness and
      ambiguity objection betrays that the objection was made reflexively and
      without a factual basis.” Id. at 488. TGL’s objections are therefore without
      merit and should be overruled.

      B.      The Requests are not “overly broad and unduly burdensome.”

             39.   TGL objects that each of ROGs 1-2, 4-15, and 17-18 is “overly
      broad and unduly burdensome” because, according to TGL,

              [i]t requires TGL to respond to a contention interrogatory2
              while discovery is still ongoing and because to require a full
              response at this time is disproportional to the needs of the case,
              in particular considering Mr. Matloff’s relative access to his
              own statements and his personal knowledge of the falsity of
              statements when made and/or the details of his own
              surreptitious activity.

      See Exhibit F. The sheer repetition of this objection underscores its
      boilerplate nature, as does the fact that TGL fails each time to “show
      specifically how each interrogatory or document request is overly broad,
      unduly burdensome, or oppressive.” Heller v. City of Dallas, 303 F.R.D. at
      490 (emphasis added). Instead, TGL makes only a generalized reference to
      the alleged disproportionality of the request and suggests that Matloff has


              2
               TGL’s claim that certain of the Requests are contention interrogatories is
      addressed below.

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      “access to his own statements and [ ] personal knowledge of the falsity of
      statements when made.”

             40.     The proportionality of a discovery request is determined by
      “considering the importance of the issues at stake in the action, the amount
      in controversy, the parties' relative access to relevant information, the parties'
      resources, the importance of the discovery in resolving the issues, and
      whether the burden or expense of the proposed discovery outweighs its likely
      benefit,” see Fed. R. Civ. P. 26(b)(1), and it is difficult to conceive of higher
      stakes than a challenge to a chapter 7 debtor’s discharge. “The denial of a
      discharge is one of the harshest and most punitive sanctions in bankruptcy,
      and must not be undertaken lightly.” In re Crumley, 428 B.R. 349, 367
      (Bankr. N.D. Tex. 2010) (citing Washington 1993, Inc. v. Hudson (In re
      Hudson), 420 B.R. 73, 100 (Bankr. N.D.N.Y. 2009)). It is, as some court
      have observed, the “death penalty of bankruptcy”—“the most draconian and
      punitive of measures in the Code.” Washington 1993, Inc. v. Hudson (In re
      Hudson), 420 B.R. 73, 100 (Bankr. N.D.N.Y. 2009).3

              41.    As for resources, TGL’s founder Danny Yee was “a pre-IPO
      partner” at the investment bank of Goldman Sachs, from which he retired to
      establish TGL. See Transcript of August 1, 2019 Hearing, at 16:1-4. Matloff,
      by comparison, was wiped out by the collapse of the Rooftop Entities and,
      as his bankruptcy disclosures reveal, has minimal resources. The benefit of
      the information requested is manifest—aside from enabling Matloff to mount
      a proper defense, his discovery requests aim to clarify and narrow the scope
      of legitimate issues remaining for trial. Given the enormity of the relief TGL
      seeks in this matter, it is difficult conceive of a request for relevant
      information that could be considered to unduly burden TGL.

            42.    Furthermore, “You know what you did wrong” is not an
      acceptable answer to an interrogatory, nor is any defendant in any action


              3
                For this reason, exceptions to discharge are construed narrowly construed
      against the creditor and in favor of the debtor. See, e.g., Fezler v. Davis, 194 F.3d 570,
      573 (5th Cir. 1999), In re Boyle, 819 F.2d 583, 588 (5th Cir. 1987). It follows logically
      that a debtor should be afforded a full and fair opportunity to investigate and test
      challenges to the discharge and to discover potentially exculpatory evidence that may be
      in the possession of the one challenging the discharge.

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      required to figure out for himself what actions or events form the basis of a
      plaintiff’s claim. Compare N. Am. Catholic Educ. Programming Found.,
      Inc. v. Womble, Carlyle, Sandridge & Rice, PLLC, 887 F. Supp. 2d 78, 88
      n.7 (D.D.C. 2012) (“These facts, however, do not relieve plaintiff from its
      responsibility to properly plead its complaint and put defendants on notice of
      the claims against them. Pleadings should not boil down to: ‘You did
      something wrong. You know what you did wrong. Now look through your
      files and refresh your memory.’”); see also Ledesma v. D.R. Horton, Inc.,
      No. SA-08-CA-128-OLG, 2009 U.S. Dist. LEXIS 140009, at *11 (W.D. Tex.
      Jun. 29, 2009) (“Plaintiff is suing the defendant and has been asked
      straightforward questions regarding the factual basis of his suit. These
      interrogatories go to the heart of plaintiff's claim and, consequently, the heart
      of defendant's defense.”).

            43.     Accordingly, TGL’s objections should be overruled and TGL
      ordered to provide complete answers to each interrogatory.

      C.     “Marshaling” and “contention interrogatory” are not legitimate
             bases for refusal to answer interrogatories.

             44.    In response to TGL’s Original Requests, Matloff in his April
      15 Letter explained the problem with objections of this type.

             Just as I stated in a July 29, 2019 letter responding to TGL’s
             discovery responses in the Rooftop Group International Pte.
             Ltd. case (correspondence that was prompted by similar
             deficiencies), this type of objection is inappropriate, as the
             marshaling of evidence that supports a party’s contentions is
             entirely the point of discovery. See, e.g., Eubank v. Lockhart
             Indep. Sch. Dist., 2016 U.S. Dist. LEXIS 194780, *9 (W.D.
             Tex. Nov. 08, 2016) (rejecting an objection to being required
             to marshal evidence, holding that “[i]t is not overly
             burdensome to expect a plaintiff to identify the specific acts
             that caused her harm”).

      See Exhibit C. In response, TGL replaced the improper marshaling objection
      in its Original Reponses with a new boilerplate objection that each
      interrogatory “requires TGL to respond to a contention interrogatory while
      discovery is still ongoing.” TGL thus makes the same objection using a
      different pattern of words, but the objection remains improper.

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             45.      “An interrogatory is not objectionable merely because it asks
      for an opinion or contention that relates to fact or the application of law to
      fact…” Fed. R. Civ. P. 33(a)(2). As the advisory committee notes to Rule
      33 observe, “they can be most useful in narrowing and sharpening the issues,
      which is a major purpose of discovery.” Fed. R. Civ. P. 33 advisory comm.
      n. (1970); see also Id. advisory committee n. (2007) (revising the rule to
      make clear that “[o]pinion and contention interrogatories are used
      routinely”). If a claim lacks an evidentiary basis, TGL should dismiss that
      claim in accordance with Federal Rule of Bankruptcy Procedure 9011. What
      TGL cannot do is maintain claims against Matloff while refusing to identify
      the specific allegations or produce the evidence to support such claims.

             46.     While the rule does permit a court to postpone a party’s
      response to a contention interrogatory until near the end of discovery, in this
      case TGL should require no such additional time. As a reminder, since April
      2019, TGL has (i) propounded multiple document requests in this and the
      Rooftop Entities’ bankruptcy cases; (ii) taken the oral deposition of Darren
      Matloff; (iii) examined Matloff under oath in more than one § 341 creditor
      meeting; and (iv) cross-examined Matloff under oath at an evidentiary
      hearing on August 1, 2019.4 In addition, TGL has been provided
      extraordinary access to the historical books and records of Matloff and the
      Rooftop Entities, including the “Rooftop Data Room”—a massive electronic
      database of Rooftop financial records contained with an detailed architecture
      of organized folders and subfolders—that Matloff made available to TGL.

            47.     TGL has had ample opportunity to uncover evidence – if any –
      to support its claims, not only in Matloff’s case but in the various other
      Rooftop Entities’ bankruptcy cases. If evidence exists to support TGL’s
      contentions, TGL should certainly have it, and it is certainly discoverable in
      the Adversary Action.

              48.    At the same time, TGL is represented by experienced counsel
      who knows the legal distinctions between a false pretense under § 523(a)(2),
      a false “statement in writing,” embezzlement, and larceny. TGL’s objections

              4
                All of this is in addition to the discovery TGL has obtained in other court and
      arbitration proceedings in Singapore and information obtained by TGL in the normal
      course of the Rooftop Entities’ business in 2016-2018.

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      should be overruled and TGL compelled to give a direct answer to each of
      Matloff’s Interrogatories.

      D.     TGL’s incomplete and evasive responses to interrogatories do
             not represent a good faith effort to respond to discovery.

              49.    Even aside from the litany of objections that accompany them,
      TGL’s Second Amended Responses to Matloff’s interrogatories are
      purposefully designed to avoid giving clear, binding answers to clear,
      necessary questions. If a trial in this matter is to have any meaning (and if it
      is to be completed in anything less than several days’ court time), TGL must
      be ordered to amend and restate its interrogatory Responses in such a way as
      to give plain, direct answers to the questions presented.

             50.    For example, the first four interrogatories are directed to claims
      that TGL’s debt should be excepted from discharge based upon one or more
      types of alleged fraudulent conduct.

                    (a)    ROG 1 asks TGL to “[i]dentify each false pretenses,
                           false representation, and act of actual fraud that you
                           contend     renders    Matloff’s    debt    to    TGL
                           nondischargeable under 11 U.S.C. § 523(a)(2)(A).”

                    (b)    ROG 2 asks TGL to identify all allegedly false
                           “statements in writing” for purposes of § 523(a)(2)(B).

                    (c)    ROG 3 and ROG 4 ask TGL to identify each alleged act
                           of “fraud or defalcation while acting in a fiduciary
                           capacity” actionable under § 523(a)(4).

             51.    Instead of providing the “who, what, when, where, and how”
      of each alleged act of fraud, however, TGL’s Responses are a scattershot of
      alleged representations (“Represent Rooftop USA acted as an agent…”),
      fragments (“pass through of all assets to Rooftop Singapore”), and covenants
      and future promises (“contain multiple covenants; indemnities;
      guarantees…”) that leave the reader no better informed than before. Dorsey
      v. Portfolio Equities, Inc., 540 F.3d 333, 339 (5th Cir. 2008) (affirming the
      necessity of disclosing “the who, what, when, where, and how” to support
      fraud allegations); Nibbi v. Kilroy (In re Kilroy), 357 B.R. 411, 424 (Bankr.
      S.D. Tex. 2006) (holding the absence of one of the “who, what, when, where,

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      and how” allegations is fatal to a § 523(a) claim); see also Red Honor
      Ventures, Ltd. v. Edmonds (In re Edmonds), 2019 BL 372284, *9, Adv. No.
      14-40375-mxm (Bankr. N.D. Tex. Sep. 30, 2019) (“A debtor’s promise
      relating to a future action that does not purport to depict a current or past fact
      does not qualify as a false representation or false pretense.”).

             52.     In responding to ROG 3, TGL answers that “Matloff was
      acting in a fiduciary capacity,” but does not say to whom TGL believed this
      duty was owed. Compare Bell v. Berry (In re Berry), 174 B.R. 449, Bankr.
      N.D. Tex. 1994) (observing that § 523(a)(4) requires showing, among other
      things, that “the debtor had a fiduciary relationship with the creditor at the
      time at the time the debt was created”) (emphasis added). TGL’s answer to
      ROG 3 largely suggests that TGL is focused on Matloff’s fiduciary
      relationship to Rooftop Singapore. If TGL also claims that Matloff owed a
      fiduciary duty to TGL, the Response is incomplete. ROG 4 is similarly
      incomplete for failing to disclose the “who, what, when, where, and how” of
      each alleged act of fraud.

             53.    The next three interrogatories move on from the topic of
      alleged fraud and false representations to discover from TGL how its debt is
      one for embezzlement, embezzlement, larceny, or a “willful and malicious
      injury” as described in §§ 523(a)(4) and (6). In responding to ROGs 5-7,
      however, TGL largely just points to its responses to ROGs 1-4 (and, for ROG
      6 and ROG 7, the responses to the preceding Requests).

             54.    But the concepts of embezzlement and larceny are distinct acts
      defined by wholly separate elements. See, e.g., Cowin v. Countrywide Home
      Loans, Inc. (In re Cowin), 864 F.3d 344, 350 (5th Cir. 2017) (stating that
      larceny involves “the fraudulent and wrongful taking away of the property
      of another” paired with “the intent to convert it to the taker’s use and with
      the intent to permanently deprive that owner of such property”); Miller v.
      J.D. Abrams Inc. (In re Miller), 156 F.3d 598, 602 (5th Cir. 1998) (describing
      embezzlement for purposes of § 523(a)(4) as the “fraudulent appropriation
      of property by a person to whom such property has been entrusted, or into
      whose hands it has lawfully come”). And both embezzlement and larceny
      are wholly distinct from “willful or malicious injury” under § 523(a)(6),
      which requires showing of an injury “where there is either an objective

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      substantial certainty of harm or a subjective motive to cause harm.” Free v.
      Winborne (In re Free), 761 Fed. Appx. 314, 318 (5th Cir. 2019).

             55.    Against this backdrop, TGL’s Second Amended Responses are
      deliberately confusing insofar as they offer the same laundry-list response to
      interrogatories that seek information on mutually exclusive topics (e.g.,
      larceny versus embezzlement versus fraud). By its conduct, TGL would have
      Matloff guess for himself which answers respond to which interrogatory.

              56.     Moreover, these interrogatories are critical to understanding
      the amount of the debt or debts that TGL claims to be nondischargeable,
      because §§ 523(a)(4) and (6) serve to except from discharge only debts for
      the actual amount embezzled or stolen by larceny, or for the damage incurred
      by a willful and malicious injury. See, e.g., Telmark, LLC v. Booher (In re
      Booher), 284 B.R. 191, 214 (Bankr. W.D. Pa. 2002) (nondischargeable debt
      under § 523(a)(4) is limited to amounts actually embezzled); Matter of
      Thomas, 729 F.2d 502 (7th Cir. 1984) (holding that, upon a showing that a
      “defalcation” has occurred for purposes of § 523(a)(4), only that portion of
      the trust res inappropriately expended is nondischargeable). They would not
      serve to render Matloff’s debts arising from his personal guaranties to be
      nondischargeable unless TGL can show that portion of its debt to have been
      obtained through the complained-of conduct. See, e.g., E.E. Norwood & Flat
      Top Dairy Go Round, LP v. Hicks (In re Hicks), 384 B.R. 443, 453-54
      (Bankr. N.D. Tex. 2008) (“The evidence does not link a specific loss with an
      identifiable misrepresentation or series of misrepresentations.”). To the
      extent TGL contends that Matloff stole, embezzled, or obtained by fraud or
      defalcation specific sums of money, TGL must therefore be compelled to
      provide standalone responses to each interrogatory so that Matloff and this
      Court can properly understand the scope of allegations raised in this
      adversary proceeding.

              57.    Turning to Count 2, TGL seeks to deny Matloff’s discharge in
      its entirety under each of § 727(a)(2) (transfer, destruction, or concealment
      of property) and § 727(a)(3) (concealment, destruction, or failure to preserve
      records). In Counts 3, 4, and 5, TGL invokes § 727(a)(7) to deny Matloff’s
      discharge based upon allegations of missing property, insufficient records


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      and false oaths under §§ 727(a)(2), (3), and (4) in the cases of Rooftop
      Singapore, Rooftop Services, and Rooftop USA.

             58.    Recognizing that a MORE subjective dispute may exist as to
      the sufficiency of records from which the Rooftop Entities’ financial
      condition might be ascertained, Matloff deliberately framed ROG 8 in an
      effort to narrow the scope of trial by asking TGL to describe only any
      allegations that Matloff “concealed, destroyed, mutilated, or falsified” any
      records (or caused any Rooftop Entity to do so).

              59.    After applying its standard blanket objections, TGL responded
      only that the available records are “woefully and suspiciously deficient,”
      followed by a series of allegations of records that TGL deems insufficient or
      improperly missing. Nowhere, however, does the Response identify a single
      document or record that TGL contends was concealed, destroyed, mutilated,
      or falsified. To the extent TGL is withholding such information, it should be
      compelled to supplement this Response; otherwise, the objections should be
      overruled and TGL bound to concede that no such information exists.

             60.     Similarly, Matloff recognizes a subjective dispute may exist as
      to whether Matloff and the various Rooftop entities transferred or removed
      any property, and therefore framed ROG 9 to determine the extent to which
      TGL contends that Matloff destroyed, mutilated, or concealed any such
      property (or caused any Rooftop entity to do so. In its Response, TGL
      describes the reported decline in receivables volume, transactions that TGL
      may not have authorized, and the like, but does not identify a single dollar or
      asset that it contends was affirmatively destroyed, mutilated, or concealed.
      To the extent TGL is withholding such information, it should be compelled
      to supplement this Response; otherwise, the objections should be overruled
      and TGL bound to concede that no such information exists.

              61.    ROG 14 seeks to drill down on precisely what allegedly false
      or fraudulent statements TGL claims to have relied upon in extending credit
      to the Rooftop entities under one or more side letters that the parties entered
      into in late 2017 and early 2018. In response, TGL refers to and incorporates
      its response to ROG 12, which in turn refers to and incorporates the response
      to ROG 1, which is broader in its inquiry. To the extent TGL is withholding

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      information about any representation that is not otherwise described in ROG
      1, it should be compelled to supplement this Response; otherwise, the
      objections should be overruled and TGL bound only to the scope of this
      Response.

              62.    TGL’s Response to ROG 16 is particularly frustrating because
      it continues to defy Matloff’s specific request for clarification. In ¶ 38 of the
      Complaint, TGL alleges that, “[b]etween March 1, 2018 and August 25,
      2019, Matloff willfully and maliciously transferred proceeds of purchase
      orders and receivables…totaling not an amount not less than $2,074,083.17,”
      referencing a series of bank statements attached to the Complaint. Given the
      echoes of § 523(a)(6) in this allegation, Matloff asked TGL in ROG 16 to
      specify “whether the transfers totaling $2,074,083.17 comprise all
      withdrawals, transfers, and other debits” recorded in those statements.

              63.    Rather than confirm whether the $2.074 million tally referred
      to all of the transactions listed in referenced bank statements or merely
      certain transactions, TGL objected to the interrogatory, asserting that the
      documents “speak for themselves” and, in any event, asserted an amount “not
      less than” $2.074 million. As a result, Matloff still cannot ascertain whether
      or not TGL literally asserts that every transaction undertaken in an 18-month
      window of time is nondischargeable under § 523(a)(6). Matloff has
      repeatedly requested a spreadsheet identifying those transactions that add up
      to the $2.074 million, and TGL has thus far refused to comply. As Matloff
      is entitled to know precisely what transactions are alleged to have caused a
      “willful and malicious” injury, TGL must be ordered to supplement its
      response to ROG 16.

      E.     TGL must disclose whether any responsive document or
             information has been withheld.

             64.    TGL also made no attempt to rectify its failure to state in its
      objections “whether any responsive materials [were] withheld on the basis of
      that objection.” FED. R. CIV. P. 34(b)(2)(C), via FED. R. BANKR. P. 7034.
      According to the Federal Rules of Civil Procedure, “[a]n objection to part of
      a request must specify the part and permit inspection of the rest.” FED. R.
      CIV. P. 34(b)(2)(C), via FED. R. BANKR. P. 7034. For example, every single


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      one of TGL’s responses includes one or more objections, but not a single one
      states whether or not responsive materials were withheld on the basis of those
      objections. This failure persisted through the Second Amended Responses,
      even though it was specifically addressed in both the Letter and the April 27
      conference between the parties, indicating that TGL’s obstreperous conduct
      is wholly deliberate.

      F.     TGL must provide a privilege log.

             65.    TGL also objected to a number of requests on the basis of
      privilege. Specifically, a privilege objection is lodged to each of RFPs 1, 8,
      10, 12-15, and 17 and ROGs 1-12, 17-19. Matloff has requested that, to the
      extent TGL has withheld communications or other documents on the basis
      of any privilege (including under the common interest doctrine), TGL
      produce a privilege log in accordance with Federal Rule of Civil Procedure
      26(b)(5). FED. R. CIV. P. 26(b)(5), via FED. R. BANKR. P. 7026. Despite the
      expansive invocation of the privilege objection, TGL has failed to do so.

             66.    Among these Requests, however, RFP 10 stands out. In RFP
      10, Matloff sought communications between any “TGL Entity” and any
      “Polar Entity” (later narrowed to communications between any TGL Entity
      and Thian Chew). Email correspondence shows that Mr. Chew was routinely
      included in correspondence with TGL and Polar in his capacity as a
      representative of Polar, rather than the company. In one jarring example,
      another TGL representative, Hiro Mukaibo, lays out TGL’s strategy to Mr.
      Chew and other Polar representatives for an upcoming meeting scheduled
      with Rooftop in February 2018. In his email, Mr. Mukaibo instructs Mr.
      Chew on how everyone is to participate at the meeting: “Tomo Thian you
      two accompany me for the first half. Thian you come as Rooftop, just to
      clarify numbers.” See Exhibit I (emphasis added); see also Exhibit J.

              67.    It is therefore of critical importance to this adversary
      proceeding to discover the full extent of the communications between TGL
      and Mr. Chew during his tenure as chief financial officer. Like Exhibits I
      and J, other such communications may reveal that TGL was actually relying
      to a large degree on Mr. Chew—not Matloff—for information pertaining to
      Rooftop’s finances and financial performance. Moreover, such emails bear


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      directly on the credibility of one of TGL’s principals, Danny Yee, who
      testified previously in deposition that he understood Mr. Chew not to have
      participated in communications between TGL and Polar pertaining to their
      collection efforts, and that Mr. Chew had recused himself from any further
      representation of Polar.

             68.     TGL’s invocation of the common interest and joint defense
      privilege as a defense to RFP 10, which seeks communications between TGL
      and Polar (including Thian Chew), makes this an issue of critical importance.
      Accordingly, in its April 15 Letter and subsequent meet-and-confer
      conferences, Matloff has requested a copy of any written agreement
      memorializing any common interest or joint defense between any TGL
      Entity and Polar Entity. Like many of Matloff’s other requests, TGL has
      declined to comply, has not provided a copy of any such agreement, and
      continues to withhold documents on the basis of privilege without providing
      the a privilege as required by Rule 26(b)(5).

      G.     TGL cannot unilaterally refuse to search for documents
             responsive to legitimate discovery requests.

              69.    Finally, and perhaps most egregious of all, TGL has expressly
      stated in numerous responses that it “has not conducted a search specific to
      these requests in light of the above objections.” Specifically, this statement
      is made in the responses to RFPs 2-5, 8, and 10. TGL cannot reasonably
      certify that there is a good faith basis for an objection (e.g., that the Request
      is “unduly burdensome”) if TGL has not even conducted a search for
      responsive documents. Moreover, the document categories left unexamined
      by TGL touch on some of the most critical issues raised in this adversary
      proceeding, some of which may be specifically exculpatory to Matloff.

             70.    RFPs 2-5 and 8 seek documents relating to the scope and
      substance of any due diligence that TGL conducted prior to extending credit
      to Rooftop Singapore. The reasonableness of a plaintiff’s reliance is a critical
      element under § 523, and the nature, extent, and quality of any due diligence
      conducted by TGL is directly relevant to the reasonableness of TGL’s
      reliance on any statements made by Matloff or any of the Rooftop entities.



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             71.     RFP 10, which seeks communications between TGL and Polar
      (and, in particular, Thian Chew) is similarly critical to the claims asserted in
      this adversary proceeding. As illustrated by Exhibits I and J, TGL was in
      direct communication with Mr. Chew while he was also serving as Rooftop
      Singapore’s chief financial officer. If, as these communications show, Mr.
      Chew was taking instructions from Rooftop Singapore’s lenders, it bears
      directly on the questions of Matloff’s own alleged culpability as well as the
      reasonableness of any alleged reliance by TGL. Further, to the extent TGL
      ever sought clarification from Mr. Chew about statements made by Matloff,
      Mr. Chew’s responses may show that TGL was relying more on Mr. Chew
      that Matloff. TGL must therefore be compelled to turn over all such
      communications for Matloff’s examination, or else it must be presumed that
      more emails like Exhibits I and J exist.5

              72.   TGL must be instructed to conduct the necessary searches and
      produce all responsive, nonprivileged documents and communications in its
      possession. Failing that, Matloff is entitled to an inference that TGL was not
      relying on any particular statement of Matloff, but was relying instead on Mr.
      Chew, who served as an “inside man” to Polar and TGL during his tenure as
      chief financial officer.

             73.    In light of all the aforementioned deficiencies in TGL’s Second
      Amended Responses despite hours of phone calls and the Letter detailing
      said deficiencies, Matloff requests that this Court overrule TGL’s objections.

                                V.
              REQUEST FOR ATTORNEY’S FEES AND EXPENSES

             74.    Rule 7037(a)(5)(A) provides that the Court must require the
      party whose conduct necessitated any motion to compel under the rule to pay
      the movant’s reasonable attorney’s fees and expenses incurred in making
      such motion unless such conduct was substantially justified. Matloff submits
      that TGL’s conduct is not substantially justified and is merely dilatory and
      evasive litigation tactics designed to hinder, delay, and frustrate Matloff’s
      discovery rights in this case. As set forth herein, TGL continues to assert

              5
                Related to this, Matloff and the Court must have some assurance that, if so
      ordered, TGL actually turns over all responsive correspondence involving Mr. Chew and
      does not “curate” its production to eliminate emails in which Mr. Chew’s role is in doubt.

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      objections that are not warranted by existing law, indicating its conduct is
      intentional.

            75.     Pursuant to the foregoing rules, following any ruling on this
      this motion, Matloff requests that TGL be ordered to pay Matloff’s
      reasonable attorney’s fees and expenses in connection with this motion.

                                         VI.
                                       PRAYER

              WHEREFORE, Matloff requests that the Court enter an order
      (i) overruling TGL’s objections in its Second Amended Responses;
      (ii) compelling TGL to serve supplemental answers to the Requests signed
      by a representative of TGL with personal knowledge of the information in
      those answers; (iii) allowing Matloff to invoke the Exclusionary Rule at trial
      as to any responsive information or documents that are not disclosed in those
      supplemental answers; (iv) awarding Matloff reasonable attorney fees and
      expenses incurred in connection with this motion; and (v) granting such other
      and further relief as the Court may deem just and proper.

      Dated: June 22, 2020                      Respectfully submitted,

       SPECTOR & COX PLLC                    REED SMITH LLP

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                            CERTIFICATE OF SERVICE

            I hereby certify that, on June 22, 2020, a true and correct copy of this
      document was served via email to counsel for TGL at the following
      addresses:

             Katharine Battaia Clark
             Email: kclark@thompsoncoburn.com

                                              /s/ Michael P. Cooley
                                             Michael P. Cooley




                        CERTIFICATE OF CONFERENCE

             I hereby certify that, on the dates described in the foregoing document,
      the undersigned counsel participated in multiple conferences with counsel
      for TGL regarding the deficiencies in TGL’s discovery responses and
      Matloff’s demands for supplementation or clarification. In light of TGL’s
      refusal to correct these deficiencies after twice amending its discovery
      responses, Matloff is informed and believes that further conference would
      not be practicable or productive, and believes that TGL opposes the relief
      requested herein.


                                              /s/ Michael P. Cooley
                                             Michael P. Cooley




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